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                           EXHIBIT 1


                         Plan Exhibit 13.1
                    Litigation Trust Agreement
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                                      PLAN EXHIBIT 13.1

                              LITIGATION TRUST AGREEMENT

This Exhibit is subject to all of the provisions of the Plan including, without limitation, Section
15.8, pursuant to which the Proponents have reserved the right, subject to section 1127 of the
Bankruptcy Code and, to the extent applicable, sections 1122, 1123 and 1125 of the Bankruptcy
Code, to alter, amend or modify the Plan or the Exhibits at any time prior to or after the
Confirmation Date but prior to the substantial consummation of the Plan.
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             LITIGATION TRUST AGREEMENT
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                            LITIGATION TRUST AGREEMENT

                This Litigation Trust Agreement (the “Litigation Trust Agreement”), dated as of
[______________], 2012, by (a) the individual identified on Exhibit A attached hereto, as the
trustee for the liquidating trust established pursuant to this Litigation Trust Agreement (such
person and each successor trustee, the “Litigation Trustee”), and (b) Tribune Company, on behalf
of itself and the other Debtors and Reorganized Debtors, is executed pursuant to the Confirmation
Order to facilitate the implementation of the Fourth Amended Joint Plan of Reorganization for
Tribune Company and Its Subsidiaries Proposed by the Debtors, the Official Committee of
Unsecured Creditors, Oaktree Capital Management, L.P., Angelo, Gordon & Co., L.P., and
JPMorgan Chase Bank, N.A., dated April 17, 2012 (as the same may be amended, modified or
supplemented from time to time in accordance with the terms and provisions thereof, the “Plan”)
that provides for the establishment of the liquidating Litigation Trust created hereby. Each of the
Debtors (or, after the Effective Date, the Reorganized Debtors) and the Litigation Trustee are
sometimes referred to individually as a “Party” and collectively as the “Parties.” Capitalized
terms used in this Litigation Trust Agreement and not otherwise defined shall have the meanings
assigned to such terms in the Plan.

                                           RECITALS

               WHEREAS, Tribune and certain Debtors filed voluntary petitions for relief under
Chapter 11 of the Bankruptcy Code on December 8, 2008 in the United States Bankruptcy Court
for the District of Delaware (the “Bankruptcy Court”) and, on December 10, 2008, the
Bankruptcy Court consolidated the Debtors’ Chapter 11 cases for procedural purposes only. An
additional Debtor, Tribune CNLBC, LLC, f/k/a Chicago National League Ball Club, LLC,
voluntarily commenced a Chapter 11 case on October 12, 2009, in the Bankruptcy Court and that
case was procedurally consolidated with the other Debtors’ Chapter 11 cases on October 14,
2009;

              WHEREAS, on [______________], 2012, the Bankruptcy Court entered the
Confirmation Order;

               WHEREAS, on [______________], 2012, the Effective Date of the Plan
occurred;

               WHEREAS, the Litigation Trust is established for the sole purpose of
administering the Litigation Trust Assets and making all distributions on account of the
Litigation Trust Interests as provided for under the Plan;

               WHEREAS, the Litigation Trust shall be established for the benefit of the
Litigation Trust Beneficiaries;

                WHEREAS, the Litigation Trustee was duly appointed as a representative of each
of the Estates pursuant to section 1123(a)(5), (a)(7), and (b)(3)(B) of the Bankruptcy Code;

                WHEREAS, the Litigation Trust has no objective to continue or engage in the
conduct of a trade or business, except to the extent reasonably necessary to, and consistent with,
the liquidating purpose of the Litigation Trust; and



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              WHEREAS, the Litigation Trust is intended to qualify as a liquidating trust
within the meaning of United States Treasury Regulation section 301.7701-4(d), and this
Litigation Trust Agreement, the Litigation Trust, the Confirmation Order, the Plan and the
Disclosure Documents are intended to comply with the advance ruling guidelines contained in
Rev. Proc. 94-45, 1994-2 C.B. 684;

              WHEREAS, this Litigation Trust Agreement is the “Litigation Trust Agreement”
contemplated under the Plan and executed in order to facilitate the implementation of the Plan;

               NOW, THEREFORE, pursuant to the Plan and Confirmation Order, in
consideration of the premises and the mutual covenants and agreements contained herein, the receipt
and sufficiency of which are hereby acknowledged and affirmed, the Parties hereby agree as
follows:

                                           ARTICLE 1

                      ESTABLISHMENT OF THE LITIGATION TRUST

       1.1     Establishment of Litigation Trust and Appointment of Litigation Trustee.

               (a)     A trust, which shall be known as the “Litigation Trust,” is hereby
established on behalf of the Litigation Trust Beneficiaries.

                (b)     The Litigation Trustee is hereby appointed as trustee of the Litigation
Trust effective as of the Effective Date and agrees to accept and hold the Litigation Trust Assets
in trust for the Litigation Trust Beneficiaries subject to the terms of the Plan, the Confirmation
Order, and this Litigation Trust Agreement. The Litigation Trustee and each successor Litigation
Trustee serving from time to time hereunder shall have all the rights, powers and duties set forth
herein.

               (c)     Subject to the terms of this Litigation Trust Agreement, any action by the
Litigation Trustee and/or the Litigation Trust Advisory Board that affects the interests of more
than one Litigation Trust Beneficiary shall be binding and conclusive on all Litigation Trust
Beneficiaries even if such Litigation Trust Beneficiaries have different or conflicting interests.

             (d)    The Litigation Trustee and the members of the Litigation Trust Advisory
Board may serve without bond.

               (e)   For the avoidance of doubt, none of the Litigation Trustee or any Member
of the Litigation Trust Advisory Board is an officer, director, or fiduciary of any of the
Reorganized Debtors.

       1.2     Transfer of Assets and Rights to the Litigation Trust.

               (a)    As of the Effective Date, and pursuant to and subject in all respects to the
terms of the Confirmation Order in accordance with section 1141 of the Bankruptcy Code, the
Debtors, in their respective capacities as debtors in possession on behalf of the Estates, have
transferred, assigned, and delivered to the Litigation Trust, without recourse, all of their


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respective rights, title, and interests in and to the Preserved Causes of Action free and clear of
Claims and Interests (other than Claims in the nature of setoff or recoupment), encumbrances or
interests of any kind in such property of any other Person (including all Liens, Claims,
encumbrances or interests of any creditors that were subordinated for purposes of distributions
under the Plan).

               (b)     On the Effective Date, the Parties shall enter into the LT Confidentiality and
Common Interest Agreement providing for reasonable access to, at the Litigation Trust’s own
expense, copies of the Debtors’ and Reorganized Debtors’ records and information relating to the
Litigation Trust Assets including, without limitation, electronic records or documents.

               (c)    All of the proceeds received by the Litigation Trust from the pursuit of
any Preserved Causes of Action (collectively, the “Litigation Trust Proceeds”) shall be added to
the Litigation Trust Assets and held as a part thereof (and title thereto shall be vested in the
Litigation Trust).

               (d)     At any time and from time to time on and after the Effective Date, the
Reorganized Debtors agree (i) at the reasonable request of the Litigation Trustee to execute
and/or deliver any instruments, documents, books, and records (including those maintained in
electronic format and original documents as may be needed), and (ii) to take, or cause to be
taken, all such further actions as the Litigation Trustee may reasonably request, in each case in
order to evidence or effectuate the transfer of the Preserved Causes of Action to the Litigation
Trust.

       1.3     Title to Preserved Causes of Action.

               The transfer of the Preserved Causes of Action to the Litigation Trust is made by
the Estates for the sole benefit of the Litigation Trust Beneficiaries. Upon the transfer of the
Preserved Causes of Action and the Litigation Trust Assets to the Litigation Trust, the Litigation
Trust shall succeed to all of the Estates’ rights, title and interests in and to the Preserved Causes
of Action and no other Person has any interest, legal, beneficial, or otherwise, in the Litigation
Trust or the Preserved Causes of Action as of their transfer and assignment to the Litigation
Trust.

       1.4     Nature and Purpose of the Litigation Trust.

               (a)       The Litigation Trust is organized and established as a trust solely for the
purposes set forth in Article XIII of the Plan pursuant to which the Litigation Trustee, subject to
the terms and conditions contained herein and in the Plan, is to (i) administer the Litigation Trust
Assets and make all distributions to the Litigation Trust Beneficiaries as provided for herein and
under the Plan, and (ii) oversee and direct the expeditious but orderly liquidation of the
Litigation Trust Assets. The Litigation Trust is intended to qualify as a liquidating trust pursuant
to United States Treasury Regulation section 301.7701-4(d). The primary purpose of the
Litigation Trust is to liquidate the Litigation Trust Assets with no objective to continue or engage
in the conduct of a trade or business, except to the extent reasonably necessary to preserve or
enhance the liquidation value of the Litigation Trust Assets, and consistent with the liquidating
purpose of the Litigation Trust.



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                (b)    This Litigation Trust Agreement is intended to create a trust and a trust
relationship and to be governed and construed in all respects as a trust. The Litigation Trust is
not intended to be, and shall not be deemed to be or treated as, a general partnership, limited
partnership, joint venture, corporation, joint stock company or association, nor shall the
Litigation Trustee, the Litigation Trust Advisory Board (or any of its members), the Debtors or
Reorganized Debtors, or the Litigation Trust Beneficiaries, or any of them, for any purpose be,
or be deemed to be or treated in any way whatsoever to be, liable or responsible hereunder as
partners or joint venturers. The relationship of the Litigation Trust Beneficiaries to the Litigation
Trustee and the Litigation Trust Advisory Board shall be solely that of beneficiaries of a trust
and shall not be deemed a principal or agency relationship, and their rights shall be limited to
those conferred upon them by this Litigation Trust Agreement.

       1.5     Relationship to, and Incorporation of, the Plan and Confirmation Order.

                This Litigation Trust Agreement is to aid in the implementation of the Plan and
the Confirmation Order, and therefore this Litigation Trust Agreement incorporates the
provisions of the Plan and the Confirmation Order by this reference. To that end, the Litigation
Trustee shall have full power and authority to take any action consistent with the purpose and
provisions of the Plan and to seek any orders from the Bankruptcy Court in furtherance of
implementation of the Plan, in each case solely to the extent such actions or orders are in
furtherance of this Litigation Trust Agreement, but in each case subject in all respects to and
solely to the extent not inconsistent with the terms of the Plan. To the extent that there is conflict
between the provisions of this Litigation Trust Agreement, the provisions of the Plan, and/or the
Confirmation Order, each such document shall have controlling effect in the following rank
order: (1) the Confirmation Order; (2) the Plan; and (3) this Litigation Trust Agreement.

       1.6     Funding of the Litigation Trust.

                On the Effective Date, Reorganized Tribune, as lender, and the Litigation Trust,
as borrower, shall become parties to the Trust Loan Agreement. The Trust Loan Agreement
shall provide for a delayed draw term loan in the aggregate principal amount of $20 million.
Except as expressly provided in the Trust Loan Agreement, none of the Debtors or the
Reorganized Debtors shall have any liability for any cost or expense of the Litigation Trust. Any
failure or inability of the Litigation Trust to obtain funding will not affect the enforceability of
the Litigation Trust.

       1.7     Appointment as Representative.

                Pursuant to section 1123(b)(3) of the Bankruptcy Code, the Plan appointed the
Litigation Trustee as the duly appointed representative of each of the Estates solely with respect
to the Litigation Trust Assets and, as such, the Litigation Trustee is deemed to be acting in the
capacity of a bankruptcy trustee, receiver, liquidator, conservator, rehabilitator, or creditors’
committee or any similar official who has been appointed to take control of, supervise, manage
or liquidate the Debtors solely with respect to prosecution of the Litigation Trust Assets for the
benefit of the Litigation Trust Beneficiaries. To the extent that any Preserved Causes of Action
cannot be transferred to the Litigation Trust because of a restriction on transferability under
applicable non-bankruptcy law that is not superseded or preempted by section 1123 of the



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Bankruptcy Code or any other provisions of the Bankruptcy Code, such Preserved Causes of
Action shall be deemed to have been retained by the applicable Estate and the Litigation Trustee
shall be deemed to have been designated as a representative of the applicable Estate pursuant to
section 1123(b)(3)(B) of the Bankruptcy Code to enforce and pursue such Preserved Causes of
Action on behalf of such Estate subject to the terms of this Litigation Trust Agreement, the Plan
and the Confirmation Order. Notwithstanding the foregoing, all Litigation Trust Proceeds shall
be paid over to the Litigation Trust and shall be applied in accordance with the Plan, this
Litigation Trust Agreement and the Litigation Trust distribution schedule, attached hereto as
Exhibit C (the “Litigation Trust Distribution Schedule”).

                                            ARTICLE 2

                                LITIGATION TRUST INTERESTS

       2.1     Allocation of Litigation Trust Interests.

                The allocation and distribution of the Litigation Trust Interests shall be
accomplished as set forth in the Plan including, without limitation, Sections 3.2.3, 3.2.4, 3.2.5,
3.2.6, 3.2.8, 3.2.9, 3.2.11 and Article XIII of the Plan.

       2.2     Interests Beneficial Only.

                The ownership of a Litigation Trust Interest shall not entitle any Litigation Trust
Beneficiary to any title in or to the Litigation Trust Assets (which title shall be vested in the
Litigation Trust) or to any right to call for a partition or division of the Litigation Trust Assets or
to require an accounting.

       2.3     Evidence of Beneficial Interests.

                (a)     The Litigation Trust Interests may be represented either by book entries on
the books and records of the Litigation Trust or by certificates, in either definitive or global form,
as shall be determined by the Litigation Trustee upon consultation with and subject to the
approval of the Litigation Trust Advisory Board. In the event certificates are created, the
Litigation Trustee shall cause to be placed on such certificate such legends as it deems are
required or appropriate under tax laws or regulations in connection with tax withholding
pursuant to Section 6.1 herein, under securities laws or regulations in connection with
registration or reporting requirements, if any, or otherwise. Any Person to whom a certificate is
issued or transferred, by virtue of the acceptance thereof, shall assent to and be bound by the
terms and conditions of this Litigation Trust Agreement and the Plan. In the event certificates are
issued, the form of such certificates shall be determined by the Litigation Trustee subject to
approval of the Litigation Trust Advisory Board.

                (b)     In the event certificates are issued, only whole numbers of certificates
shall be issued. When any distribution of Litigation Trust Interests would otherwise result in the
issuance of a number of certificates that is not a whole number, the actual distribution of such
certificates shall be rounded to the next higher or lower whole number of certificates as follows:
(i) fractions equal to or greater than ½ shall be rounded to the next higher whole number; and (ii)



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fractions less than ½ shall be rounded to the next lower number. No consideration shall be
provided in lieu of fractional certificates that are rounded down.

       2.4     Exemption from Registration.

               The Parties hereto intend that the rights of the Litigation Trust Beneficiaries
arising under this Litigation Trust Agreement shall not be “securities” under applicable laws, but
none of the Parties hereto represent or warrant that such rights shall not be securities or shall be
entitled to exemption from registration under applicable securities laws. If such rights
constitute securities, the Parties hereto intend for the exemption from registration provided by
section 1145 of the Bankruptcy Code and under applicable securities laws to apply to their
issuance under the Plan.

       2.5     Transfer and Exchange.

                 (a)     No transfer, assignment, pledge, hypothecation or other disposition of a
Litigation Trust Interest may be effected until (i) the Litigation Trustee and the Litigation Trust
Advisory Board have received such legal advice or other information that they, in their sole and
absolute discretion, deem necessary to assure that any such disposition shall not cause the
Litigation Trust to be subject to entity-level taxation for U.S. federal income tax purposes, and
(ii) either (x) the Litigation Trustee and the Litigation Trust Advisory Board have received such
legal advice or other information that they, in their sole and absolute discretion, deem necessary
or appropriate to assure that any such disposition shall not require the Litigation Trust to comply
with the registration and reporting requirements of the Securities Exchange Act of 1934, as
amended (the “Exchange Act”), the Trust Indenture Act of 1939, as amended (the “TIA”), or the
Investment Company Act of 1940, as amended (the “Investment Company Act”), or (y) the
Litigation Trustee and the Litigation Trust Advisory Board have determined, in their sole and
absolute discretion, to register and/or make periodic reports in order to enable such disposition to
be made. In the event that any such disposition is allowed, the Litigation Trust Advisory Board
and the Litigation Trustee may add such restrictions upon transfer and other terms to this
Litigation Trust Agreement as are deemed necessary or appropriate by the Litigation Trustee,
with the advice of counsel, to permit or facilitate such disposition under applicable securities and
other laws. Notwithstanding the foregoing, any Litigation Trust Beneficiary may transfer its
Litigation Trust Interest to a wholly-owned subsidiary treated as a corporation for U.S. federal
income tax purposes, which shall thereafter be the relevant Litigation Trust Beneficiary.

                (b)      The Litigation Trustee shall appoint a registrar, which may be the
Litigation Trustee (the “Registrar”), for the purpose of recording ownership of the Litigation
Trust Interests as herein provided. The Registrar, if other than the Litigation Trustee, shall be an
institution acceptable to the Litigation Trust Advisory Board. For its services hereunder, the
Registrar, unless it is the Litigation Trustee, shall be entitled to receive reasonable compensation
from the Litigation Trust as a cost of administering the Litigation Trust.

                (c)     The Litigation Trustee shall cause to be kept at the office of the Registrar,
or at such other place or places as shall be designated by the Registrar from time to time, a
registry of the Litigation Trust Beneficiaries of the Litigation Trust (the “Trust Register”), which
shall be maintained pursuant to such reasonable regulations as the Litigation Trustee and the



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Registrar may prescribe. For purposes of the Trust Register, DTC or its nominee may be the
registered holder of Class 1E Litigation Trust Interests and Class 1J Litigation Trust Interests to
the extent that the Holders of such Litigation Trust Interests hold such Litigation Trust Interests
through DTC.

       2.6     Access to the Trust Register by the Litigation Trust Beneficiaries.

               The Litigation Trust Beneficiaries and their duly authorized representatives shall
have the right, upon reasonable prior written notice to the Registrar and the Litigation Trustee,
and in accordance with the reasonable regulations prescribed by the Registrar and the Litigation
Trustee, to inspect and, at the sole expense of the Litigation Trust Beneficiary seeking the same,
make copies of the Trust Register, in each case for a purpose reasonably related to such
Litigation Trust Beneficiary’s interest in the Litigation Trust.

       2.7     Issuance of Certificates Upon Transfer.

               In the event certificates representing Litigation Trust Interests are created, subject
to the conditions of Section 2.5(a) herein, whenever any certificate shall be presented for transfer
or exchange, the Litigation Trustee shall cause the Registrar to issue, authenticate and deliver in
exchange therefor, a certificate of the same class for the Litigation Trust Interest(s) that the
Person presenting such certificates shall be entitled to receive.

       2.8     Mutilated, Defaced, Lost, Stolen or Destroyed Certificates.

                 In the event certificates representing Litigation Trust Interests are created, if a
Litigation Trust Beneficiary claims that its certificate (the “Original Certificate”) has been
mutilated, defaced, lost, stolen or destroyed, the Litigation Trustee shall issue, and the Registrar
shall authenticate, a replacement certificate of the same class if such Litigation Trust Beneficiary
submits a notarized affidavit certifying that (i) it is the true, lawful, present and sole owner of the
Original Certificate; (ii) it has diligently searched all of its financial and other records and the
Original Certificate is nowhere to be found; (iii) the Original Certificate and any rights or
interests therein were not endorsed, and have not been pledged, sold, delivered, transferred or
assigned under any agreement, hypothecated or pledged for any loan, or disposed of in any
manner by the Litigation Trust Beneficiary or on its behalf; (iv) no other Person or other entity
has any right, title, claim, equity or interest in, to, or respecting the Original Certificate; and (v)
in the event of the recovery of the Original Certificate at any time after the issuance of a new
certificate in exchange thereof, the Litigation Trust Beneficiary will cause the recovered Original
Certificate to be returned to the Litigation Trustee, or the Litigation Trustee’s successor, for
cancellation. In addition, such Litigation Trust Beneficiary will indemnify the Litigation Trustee
or the Registrar and, if required by the Litigation Trustee or the Registrar, provide a bond or
other security sufficient in the reasonable judgment of the Litigation Trustee or the Registrar,
with respect to any loss which either of them may suffer if the Original Certificate is replaced,
including a loss resulting from the assertion by any Person of the right to payment under the
Original Certificate. Such Litigation Trust Beneficiary shall pay reasonable charges established
by the Litigation Trustee and the Registrar for the purpose of reimbursing the Litigation Trust
and the Registrar for the expenses incident thereto, including any tax or other governmental
charges. The Litigation Trustee shall incur no liability to anyone by reason of anything done or



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omitted to be done by it in good faith under the provisions of this Section 2.8. All Litigation
Trust Interests shall be held and owned upon the express condition that the provisions of this
Section 2.8 are exclusive in respect of the replacement or payment of mutilated, defaced, lost,
stolen or destroyed certificates and shall, to the extent permitted by law, preclude any and all
other rights or remedies respecting such replacement or the payment in respect thereto. Any
duplicate certificate issued pursuant to this Section 2.8 shall constitute original interests in the
Litigation Trust and shall be entitled in the manner provided herein to equal and proportionate
benefits with all other Litigation Trust Interests of the same class issued hereunder in any monies
or property at the time held by the Litigation Trustee for the benefit of the Litigation Trust
Beneficiaries. The Litigation Trustee and the Registrar shall not treat the Original Certificate as
outstanding.

       2.9     Change of Address.

                A Litigation Trust Beneficiary that does not hold such Litigation Trust Interest
through DTC may, after the Effective Date, select an alternative distribution address or provide
wire transfer instructions for any distribution by providing notice to the Registrar including such
address or instructions. Such notification will be effective only upon receipt by the Registrar.
Absent receipt of such notice by the Registrar, the Litigation Trustee shall not recognize any
such change of distribution address. A Litigation Trust Beneficiary holding such Litigation Trust
Interest through DTC shall receive its distribution through the bank or brokerage firm that held
its underlying Senior Noteholder Claims and/or PHONES Notes Claims, and any change of
address or information must be communicated by such Holder to such bank or brokerage firm.

       2.10    Tax Identification Numbers.

               The Litigation Trustee may require any direct payee of distributions on account of
Litigation Trust Interests to furnish to the Litigation Trustee its social security number or
employer or taxpayer identification number as assigned by the Internal Revenue Service and
complete any related documentation (including but not limited to a Form W-8 or Form W-9) and
the Litigation Trustee may condition any distribution to any such payee upon the receipt of such
information and the receipt of such other documents as the Litigation Trustee reasonably
requests.



                                            ARTICLE 3

                                  THE LITIGATION TRUSTEE

       3.1     Role of the Litigation Trustee.

                 In furtherance of and consistent with the purpose of the Litigation Trust and the
Plan, the Litigation Trustee, subject to the terms and conditions contained herein and in the Plan,
shall (i) hold the Litigation Trust Assets for the benefit of the Litigation Trust Beneficiaries, and
(ii) make distributions of Net Litigation Trust Proceeds in accordance with the Plan and the
Litigation Trust Distribution Schedule. Subject to the provisions of this Litigation Trust
Agreement, the Litigation Trustee in consultation with, and subject to the management and


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direction of, the Litigation Trust Advisory Board shall be responsible for all decisions and duties
with respect to the Litigation Trust and the Litigation Trust Assets. In all circumstances, the
Litigation Trustee shall act in the best interests of all the Litigation Trust Beneficiaries of the
Litigation Trust and in furtherance of the purpose of the Litigation Trust. The Litigation Trustee
shall have fiduciary duties to the Litigation Trust Beneficiaries consistent with the fiduciary
duties that a member of an official committee of creditors appointed pursuant to section 1102 of
the Bankruptcy Code has to the creditor constituents represented by such committee and shall
exercise his, her or its responsibilities accordingly; provided, that the Litigation Trustee shall not
owe fiduciary obligations to any defendants of Preserved Causes of Action in their capacities as
such, it being the intent of such fiduciary duties to ensure that the Litigation Trustee’s obligations
are to maximize the value of the Litigation Trust Assets, including the Preserved Causes of
Action. The Litigation Trustee shall be subject to and bound by the terms of the LT
Confidentiality and Common Interest Agreement.

       3.2     Authority of the Litigation Trustee.

                In connection with the administration of the Litigation Trust, in addition to any
and all of the powers enumerated elsewhere herein, the Litigation Trustee is authorized to
perform any and all acts necessary and desirable to accomplish the purposes of this Litigation
Trust Agreement and the provisions of the Plan solely relating to the Litigation Trust, within the
bounds of the Plan and applicable law. The Litigation Trustee, upon direction of the Litigation
Trust Advisory Board except as set forth herein, shall, in an expeditious but orderly manner,
liquidate and convert to Cash the Litigation Trust Assets, make timely distributions and not
unduly prolong the duration of the Litigation Trust. The liquidation of the Litigation Trust Assets
may be accomplished either through the prosecution, compromise and settlement, abandonment
or dismissal of any or all Preserved Causes of Action, or otherwise.

                The Litigation Trustee, subject to the approval of the Litigation Trust Advisory
Board except as set forth herein, shall have the right to pursue, not pursue, release, abandon,
and/or settle any and all Preserved Causes of Action (but including any counterclaims asserted
against the Litigation Trust) as the Litigation Trustee determines is in the best interests of the
Litigation Trust Beneficiaries. To the extent that any action has been taken to prosecute or
otherwise resolve any Preserved Cause of Action prior to the Effective Date by the Debtors
and/or the Creditors’ Committee, on the Effective Date the Litigation Trustee shall be substituted
for the Debtors and/or the Creditors’ Committee in connection therewith in accordance with Rule
25 of the Federal Rules of Civil Procedure, made applicable to the litigation by Rule 7025 of the
Federal Rules of Bankruptcy Procedure and the caption with respect to such pending litigation
shall be changed to the following: “[INSERT NAME], as Litigation Trustee for the Litigation
Trust, et al. v. [Defendant]”. Subject to any limitations contained herein (including, without
limitation, Article 4 herein) or in the Plan, the Litigation Trustee shall have the following powers
and authorities:

                (a)     hold legal title to any and all rights of the Holders of the Litigation Trust
Interests in or arising from the Litigation Trust Assets including, without limitation, collecting
and receiving any and all money and other property belonging to the Litigation Trust and, subject
to the approval of the Litigation Trust Advisory Board, the right to vote any claim or interest




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relating to the Litigation Trust Assets in a case under the Bankruptcy Code and receive any
distribution with respect thereto;

               (b)     make distributions of Net Litigation Trust Proceeds in accordance with the
provisions of the Plan and the Litigation Trust Distribution Schedule;

                (c)    exercise and perform the rights, powers, and duties held by each Estate
with respect to the Litigation Trust Assets including, without limitation, the authority under
section 1123(b)(3) of the Bankruptcy Code, and shall be deemed to be acting in the capacity of a
bankruptcy trustee, receiver, liquidator, conservator, rehabilitator, creditors’ committee or any
similar official who has been appointed to take control of, supervise, manage or liquidate the
Debtors, to provide for the prosecution, settlement, adjustment, retention, and enforcement of the
Litigation Trust Assets;

              (d)     in consultation with and subject to the approval of the Litigation Trust
Advisory Board, protect and enforce the rights to the Litigation Trust Assets by any method
deemed appropriate including, without limitation, by judicial proceedings or pursuant to any
applicable bankruptcy, insolvency, moratorium or similar law and general principles of equity;

                (e)    in consultation with and subject to the approval of the Litigation Trust
Advisory Board, obtain reasonable insurance coverage with respect to the liabilities and
obligations of the Litigation Trustee and the Litigation Trust Advisory Board under this
Litigation Trust Agreement (in the form of fiduciary liability insurance, a directors and officers
policy, an errors and omissions policy or otherwise);

               (f)     upon the prior written consent of the Litigation Trust Advisory Board,
without further order of the Bankruptcy Court, employ various professionals including, but not
limited to, counsel, tax advisors, consultants, and financial advisors, as the Litigation Trustee
deems necessary to aid it in fulfilling its obligations under this Litigation Trust Agreement and
the Plan, and on whatever fee arrangement the Litigation Trustee deems appropriate including,
without limitation, contingency fee arrangements. Professionals engaged by the Litigation
Trustee shall not be required to file applications in order to receive compensation for services
rendered and reimbursement of actual out-of-pocket expenses incurred. All such compensation
and reimbursement shall be paid by the Litigation Trust with Litigation Trust Proceeds or the
proceeds of the Trust Loan;

               (g)     in consultation with and subject to the approval of the Litigation Trust
Advisory Board, retain and approve compensation arrangements of an independent public
accounting firm to perform such reviews and/or audits of the financial books and records of the
Litigation Trust as may be required by this Litigation Trust Agreement and the U.S. Securities
and Exchange Commission and applicable securities laws and as may be reasonable and
appropriate in the Litigation Trustee’s discretion and to prepare and file any tax returns,
informational returns, or periodic or current reports as required by applicable securities laws, for
the Litigation Trust as may be required. Subject to the foregoing, the Litigation Trustee may
commit the Litigation Trust to and shall pay such independent public accounting firm reasonable
compensation for services rendered and reasonable and documented out-of-pocket expenses




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incurred, and all such compensation and reimbursement shall be paid from the Litigation Trust
with Litigation Trust Proceeds or the proceeds of the Trust Loan;

               (h)     subject to the LT Confidentiality and Common Interest Agreement to the
extent applicable, in consultation with and subject to the approval of the Litigation Trust
Advisory Board, assert, enforce, release, or waive any privilege or any defense on behalf of the
Litigation Trust, the Litigation Trust Assets, or the Litigation Trust Beneficiaries, as applicable;

                  (i)   subject to Section 8.1 of the Plan and any other applicable Plan provisions,
in consultation with and subject to the approval of the Litigation Trust Advisory Board,
coordinate with the Reorganized Debtors to execute offsets, assert counterclaims against Holders
of Claims, establish one or more LT Reserves on account of Disputed Claims held by any
Litigation Trust Beneficiary that, if Allowed, would entitle such Litigation Trust Beneficiary to a
distribution of Net Litigation Trust Proceeds, and make determinations as to Pro Rata
calculations, as provided for in the Plan; provided, however, that the Litigation Trustee shall
defer to the Reorganized Debtors to reconcile customer accounts, loan balances, and ordinary
business transactions that may be required to do any of the foregoing, including any litigation
relating thereto. The amount held back in the LT Reserves shall be equal to the amount necessary
to satisfy the distributions to which the Holders of the relevant Disputed Claims would be
entitled if all such Disputed Claims were to be subsequently Allowed;

                (j)     for U.S. federal income tax purposes (and, to the extent permitted by law,
for state and local income tax purposes), (i) make an election pursuant to United States Treasury
Regulation section 1.468B-9 to treat the LT Reserves as a “disputed ownership fund” within the
meaning of that section, (ii) allocate taxable income or loss to the LT Reserves with respect to
any given taxable year (but only for the portion of the taxable year with respect to which such
Claims are Disputed Claims), and (iii) distribute assets from the LT Reserves as, when, and to
the extent, such Disputed Claims either become Allowed or are otherwise resolved;

                (k)    upon the written consent of the Litigation Trust Advisory Board, the
Litigation Trustee may invest all assets transferred to the Litigation Trust (other than Preserved
Causes of Action), all Litigation Trust Proceeds, the Expense Fund (as defined below) and all
income earned by the Litigation Trust (pending periodic distributions in accordance with the
provisions of the Plan and the Litigation Trust Distribution Schedule) in short term certificates of
deposit, in banks or other savings institutions, or other temporary, liquid investments, such as
Treasury bills, and withdraw funds of the Litigation Trust, make distributions, incur obligations
for reasonable and necessary expenses in liquidating and converting the Litigation Trust Assets
to Cash, and pay taxes and other obligations owed by the Litigation Trust from funds held by the
Litigation Trustee (including taxes attributable to the LT Reserves); provided, however, that such
actions are consistent with the Litigation Trust’s status as a liquidating trust within the meaning
of United States Treasury Regulation section 301.7701-4(d) and in accordance with Rev.
Proc. 94-45, 1994-2 C.B. 684;

              (l)     request any appropriate tax determination with respect to the Litigation
Trust including, without limitation, a determination pursuant to section 505 of the Bankruptcy
Code;




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                (m)     subject to applicable securities laws, if any, establish and maintain a
website, to the extent the Litigation Trustee deems necessary, for the purpose of providing notice
of Litigation Trust activities in lieu of sending written notice to Holders of Litigation Trust
Interests, subject to providing notice of the establishment of such website to Holders;

              (n)     take or refrain from taking any and all actions the Litigation Trustee
reasonably deems necessary for the continuation, protection, and maximization of the Litigation
Trust Assets consistent with the purposes hereof, take all steps and execute all instruments and
documents necessary to effectuate the Litigation Trust, and take all actions necessary to comply
with the Confirmation Order, the Plan and this Litigation Trust Agreement and the obligations
thereunder and hereunder;

               (o)     upon the written consent of the Litigation Trust Advisory Board, liquidate
any remaining Litigation Trust Assets, and provide for the distributions therefrom in accordance
with the provisions of the Plan and the Litigation Trust Distribution Schedule;

               (p)     upon the written consent of the Litigation Trust Advisory Board, exercise
such other powers and authority as may be vested in or assumed by the Litigation Trustee by any
Final Order, or as may be necessary and proper to carry out the provisions of the Plan relating to
the Litigation Trust; provided that in no event shall the Litigation Trustee be authorized to take
any action to pursue any Released Claims; and

                (q)    upon the written consent of the Litigation Trust Advisory Board, evaluate
and determine strategy with respect to the Litigation Trust Assets, and hold, pursue, prosecute,
adjust, arbitrate, compromise, release, settle or abandon the Litigation Trust Assets against the
Non-Settling Defendants on behalf of the Litigation Trust; provided, however, that Bankruptcy
Court authority must be obtained to settle, dispose of or abandon any affirmative Preserved
Causes of Action where the stated face amount in controversy exceeds $5,000,000.

       3.3     Limitation of the Litigation Trustee’s Authority.

                (a)    Notwithstanding anything herein to the contrary, the Litigation Trustee
shall not (i) be authorized to engage in any trade or business, (ii) take any actions inconsistent
with the orderly liquidation of the Litigation Trust Assets as are required or contemplated by
applicable law, the Confirmation Order, the Plan and this Litigation Trust Agreement, (iii) be
authorized to engage in any investments or activities inconsistent with the treatment of the
Litigation Trust as a liquidating trust within the meaning of United States Treasury
Regulation section 301.7701-4(d) and in accordance with Rev. Proc. 94-45, 1994-2 C.B. 684,
(iv) take any action in contravention of this Litigation Trust Agreement, or (v) take any action
that would jeopardize treatment of the Litigation Trust as a grantor trust for U.S. federal income
tax purposes under sections 671-677 of the Internal Revenue Code of 1986, as amended (the
“IRC”), or any successor provisions thereof, except such prohibition shall not apply with respect
to the LT Reserves.

              (b)     The Litigation Trustee, acting on behalf of the Litigation Trust, shall agree
to comply with, and shall not take any actions inconsistent with or seek to modify or seek relief
from, any provision of the Plan or the Confirmation Order including, without limitation, the Bar



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Order as set forth in Section 11.3 of the Plan. Neither the Litigation Trustee nor the Litigation
Trust shall take any action to pursue any Released Claim.

       3.4     Payment of Litigation Trust Expenses.

                (a)   The Litigation Trustee may incur any reasonable and necessary fees and
expenses in pursuing the Litigation Trust Assets, administering the Litigation Trust, managing
the Litigation Trust Assets and making distributions on account of Litigation Trust Interests. All
fees, expenses, and costs of the Litigation Trust shall be paid by, and solely be the obligation of,
the Litigation Trust.

               (b)     The Litigation Trustee shall maintain an expense fund (the “Expense
Fund”) as a reserve to pay fees and expenses anticipated to be incurred in the future for the
purposes set forth in Sections 3.4(a) and 3.5 herein and expend the assets of the Expense Fund to
pay such fees and expenses as and when they become due.

                (c)    The Litigation Trustee may, subject to the approval of the Litigation Trust
Advisory Board, retain from the Litigation Trust Proceeds at any time and from time to time,
such amounts as the Litigation Trustee determines should be held in the Expense Fund to ensure
that the Expense Fund will be adequate to pay fees and expenses anticipated to be incurred in the
future for the purposes set forth in Sections 3.4(a) and 3.5 herein and add such amounts to the
Expense Fund; provided, that in no event shall the amount held in the Expense Fund exceed $20
million in the aggregate.

               (d)     Notwithstanding any other provision of this Litigation Trust Agreement to
the contrary, the Litigation Trustee shall not be required to take any action or enter into or
maintain any claim, demand, action or proceeding relating to the Litigation Trust unless it shall
have sufficient funds in the Expense Fund for that purpose.

       3.5     Reimbursement of Reorganized Debtors.

                The Litigation Trust shall reimburse the Reorganized Debtors for all reasonable
out of pocket expenses incurred in performing their obligations under this Litigation Trust
Agreement or in otherwise supporting the Litigation Trust to the extent such support is required
by this Litigation Trust Agreement or is otherwise requested and provided under the LT
Confidentiality and Common Interest Agreement. The Litigation Trust shall provide
reimbursement for all such reasonable out of pocket expenses incurred within thirty (30) days of
receipt of an appropriately detailed written invoice.

       3.6     Distributions.

               (a)     Upon the written consent of the Litigation Trust Advisory Board, the
Litigation Trustee shall distribute the Net Litigation Trust Proceeds in accordance with the
provisions of the Plan, Article 6 herein and the Litigation Trust Distribution Schedule.

             (b)     The Litigation Trust may withhold from amounts distributable to any
Person any and all amounts, determined in the Litigation Trustee's reasonable sole discretion,
required by any law, regulation, rule, ruling, directive, or other governmental requirement


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(including, without limitation, tax withholding relating to wage claims). Any Litigation Trust
Assets which are not distributable in accordance with this Section 3.6(b) as of the termination of
the Litigation Trust shall be distributed in accordance with the Distribution Schedule.

                 (c)    The Litigation Trustee may retain a distribution agent for the effective
administration and distribution of amounts payable to the Litigation Trust Beneficiaries and all
costs and expenses of such distribution agent shall be paid from the Expense Fund. The
Litigation Trustee shall also pay from the Expense Fund all reasonable and documented fees and
expenses of the Indenture Trustees incurred in connection with making distributions to Holders
of Class 1E Litigation Trust Interests or Class 1J Litigation Trust Interests pursuant to section 6.2
of this Litigation Trust Agreement.

       3.7     Tenure, Removal, and Replacement of the Litigation Trustee.

                (a)      The Litigation Trustee will serve until resignation and the appointment of
a successor pursuant to subsection (b) below, removal pursuant to subsection (c) below,
Disability, or death (if applicable).

               (b)      The Litigation Trustee may resign by giving not less than thirty (30) days’
prior written notice to the Litigation Trust Advisory Board and the Litigation Trust Beneficiaries
and filing such notice with the Bankruptcy Court. Such resignation will become effective on the
later to occur of (i) the day specified in such notice, and (ii) the appointment of a successor
Litigation Trustee as provided herein and the acceptance by such successor Litigation Trustee of
such appointment.

                (c)     The Litigation Trustee or any successor Litigation Trustee appointed
pursuant to the Plan and this Litigation Trust Agreement may be removed as Litigation Trustee
(i) without Cause by the Litigation Trust Advisory Board, or (ii) for Cause pursuant to the terms
and conditions set forth in this Litigation Trust Agreement upon order of the Bankruptcy Court
upon motion of any Holder of a Litigation Trust Interest that has not received payment in full
plus interest as specified in the Plan.

               (d)    In the event that the Litigation Trustee is removed, resigns, or otherwise
ceases to serve as Litigation Trustee, the Litigation Trust Advisory Board shall appoint a
successor Litigation Trustee. The Litigation Trust Advisory Board shall give prompt written
notice to the Reorganized Debtors of the death, resignation or removal of the Litigation Trustee
and the appointment of any successor Litigation Trustee.

                (e)    Immediately upon the appointment of any successor Litigation Trustee, all
rights, powers, duties, authority, and privileges of the predecessor Litigation Trustee hereunder
will be vested in and undertaken by the successor Litigation Trustee without any further act; and
the successor Litigation Trustee will not be liable personally for any act or omission of the
predecessor Litigation Trustee. Any successor Litigation Trustee appointed hereunder shall
execute an instrument accepting such appointment and assuming all of the obligations of the
predecessor Litigation Trustee hereunder, and such successor shall be subject to the same
qualifications and shall have the same rights, powers, duties, and discretion, and otherwise be in




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the same position, as the originally named Litigation Trustee. References herein to the Litigation
Trustee shall be deemed to refer to any successor Litigation Trustee acting hereunder.

                (f)     Upon the appointment of a successor Litigation Trustee, the predecessor
Litigation Trustee (or the duly appointed legal representative of a deceased Litigation Trustee or
a Litigation Trustee suffering a Disability) shall, if applicable, when requested in writing by the
successor Litigation Trustee, execute and deliver an instrument or instruments conveying and
transferring to such successor Litigation Trustee upon the trust herein expressed, without
recourse to the predecessor Litigation Trustee, all the estates, properties, rights, powers and trusts
of such predecessor Litigation Trustee, and shall duly assign, transfer, and deliver to such
successor Litigation Trustee all property and money held hereunder, and all other assets and
documents relating to the Litigation Trust, the Litigation Trust Assets, or the Litigation Trust
Interests then in such predecessor Litigation Trustee’s possession and held hereunder.

               (g)     During any period in which there is a vacancy in the position of Litigation
Trustee, the Litigation Trust Advisory Board shall appoint one of its members to serve as interim
Litigation Trustee (the “Interim Trustee”). The Interim Trustee shall be subject to all the terms
and conditions applicable to a Litigation Trustee hereunder. Such Interim Trustee shall not be
limited in any manner from exercising any rights or powers as a member of the Litigation Trust
Advisory Board merely by such Person’s appointment as Interim Trustee.

                (h)    The Litigation Trustee shall, during the period that the Litigation Trustee
serves as Litigation Trustee under this Litigation Trust Agreement and following the termination
of this Litigation Trust Agreement or following its removal or resignation hereunder, hold
strictly confidential and not use for personal gain any material, non-public information of or
pertaining to any entity to which any of the Litigation Trust Assets relates or of which the
Litigation Trustee has become aware in the Litigation Trustee's capacity as Litigation Trustee,
except as otherwise required by law.

               (i)   For purposes of this Section 3.7 and Section 4.7, the following terms shall
have the following meanings:

                      (i)     “Cause” means fraud, self-dealing, intentional misrepresentation,
gross negligence, or willful misconduct.

                       (ii)   “Disability” of the Litigation Trustee or a member of the Litigation
Trust Advisory Board shall have occurred if, as a result of such Person’s incapacity due to
physical or mental illness as determined by a physician selected by the Litigation Trustee or the
member of the Litigation Trust Advisory Board, as applicable, and reasonably acceptable to the
Litigation Trust Advisory Board, the Litigation Trustee or the member of the Litigation Trust
Advisory Board shall have been substantially unable to perform his or her duties hereunder for
three (3) consecutive months or for an aggregate of 180 days during any period of twelve (12)
consecutive months.

       3.8     Books and Records.

             The Litigation Trustee shall maintain in respect of the Litigation Trust and the
Holders of Litigation Trust Interests good and sufficient books and records relating to the


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Litigation Trust Assets and income of the Litigation Trust and the payment of, expenses of,
liabilities of, and claims against or assumed by, the Litigation Trust in such detail and for such
period of time as may be necessary to enable it to make full and proper accounting in respect
thereof. Such books and records shall be maintained as reasonably necessary to facilitate
compliance with the tax reporting requirements of the Litigation Trust and the requirements of
Article 8 herein. Nothing in this Litigation Trust Agreement requires the Litigation Trustee to
file any accounting or seek approval of any court with respect to the administration of the
Litigation Trust, or as a condition for managing any payment or distribution out of the Litigation
Trust Assets.

       3.9     Inquiries into the Litigation Trustee’s Authority.

               Except as otherwise set forth in this Litigation Trust Agreement or in the Plan, no
Person dealing with the Litigation Trust shall be obligated to inquire into the authority of the
Litigation Trustee in connection with the protection, conservation or disposition of the Litigation
Trust Assets.

       3.10    Compliance with Laws.

                (a)     The Litigation Trustee shall ensure that any and all distributions of Net
Litigation Trust Proceeds shall be in compliance with applicable laws including, without
limitation, applicable federal and state securities laws.

               (b)     If the Litigation Trustee determines, with the advice of counsel, that the
Litigation Trust is required to comply with registration and reporting requirements of the
Exchange Act, the TIA, or the Investment Company Act, then the Litigation Trustee shall, after
consultation with the Litigation Trust Advisory Board, take commercially reasonable efforts to
comply with such registration and reporting requirements, if any, and file periodic reports with
the U.S. Securities and Exchange Commission to the extent required by law.

       3.11    Litigation Trustee Compensation and Reimbursement.

               The Litigation Trustee shall receive compensation from the Litigation Trust as
follows:

               (a)    The Litigation Trustee shall receive the compensation set, from time to
time, by the Litigation Trust Advisory Board. The Litigation Trust Advisory Board, without
application to or approval by the Bankruptcy Court, may reasonably modify the Litigation
Trustee’s compensation and other terms regarding the retention of the Litigation Trustee.

               (b)    In addition, the Litigation Trust will reimburse the Litigation Trustee
(out of the Litigation Trust Proceeds or the proceeds of the Trust Loan) for all reasonable
and documented out-of-pocket expenses incurred by the Litigation Trustee in connection
with the performance of the Litigation Trustee’s duties hereunder and under the Plan.

              (c)     The fees and expenses payable to the Litigation Trustee shall be paid to
the Litigation Trustee upon approval of such fees by the Litigation Trust Advisory Board
without necessity for review or approval by the Bankruptcy Court or any other Person. All such


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compensation and reimbursement shall be paid from the Litigation Trust with the Litigation
Trust Proceeds or the proceeds of the Trust Loan. The Bankruptcy Court shall retain jurisdiction
to adjudicate any dispute between the Litigation Trustee and the Litigation Trust Advisory
Board regarding the fees, compensation, and expenses of the Litigation Trustee.

       3.12    Reliance by the Litigation Trustee.

               Except as otherwise provided herein:

                (a)     The Litigation Trustee may rely, and shall be protected in acting upon, any
resolution, certificate, statement, instrument, opinion, report, notice, request, consent, order, or
other paper or document believed by the Litigation Trustee to be genuine and to have been
signed or presented by the proper party or parties.

               (b)     Persons dealing with the Litigation Trustee shall look only to the
Litigation Trust Assets to satisfy any liability incurred by the Litigation Trustee to such Person in
carrying out the terms of this Litigation Trust Agreement, and neither the Litigation Trustee nor
any member of the Litigation Trust Advisory Board nor the Reorganized Debtors shall have any
personal obligation to satisfy any such liability.

       3.13    Standard of Care; Exculpation.

               Neither the Litigation Trustee nor any of the Litigation Trustee’s duly designated
agents or representatives or professionals shall be liable for any act or omission taken or omitted
to be taken by the Litigation Trustee except in the event that there is a Final Order of a court of
competent jurisdiction determining that the Litigation Trustee committed fraud, self-dealing,
intentional misrepresentation, gross negligence, or willful misconduct. The Litigation Trustee
may, in connection with the performance of the Litigation Trustee’s functions, and in the
Litigation Trustee’s sole and absolute discretion, consult with the Litigation Trustee’s attorneys,
accountants, financial advisors and agents, and shall not be liable for any act taken, omitted to be
taken, or suffered to be done in accordance with advice or opinions rendered by such Persons.
Notwithstanding such authority, the Litigation Trustee shall be under no obligation to consult
with the Litigation Trustee’s attorneys, accountants, financial advisors or agents, and the
Litigation Trustee’s good faith determination not to do so shall not result in the imposition of
liability on the Litigation Trustee, unless such determination is based on gross negligence,
recklessness, willful misconduct, or knowing violation of law.

       3.14    Acknowledgment of Lack of Control; Exculpation.

                The Parties hereby acknowledge and agree that neither the Reorganized Debtors,
nor the equity owners of the Reorganized Debtors nor the Proponents nor any of their duly
designated agents or representatives, in each case solely in their capacities as such (the “Non-
Controlling Parties”), are able to exert any control or influence over the Litigation Trustee, the
administration of the Litigation Trust, the pursuit of the Preserved Causes of Action or any other
business of the Litigation Trust, and accordingly no Non-Controlling Party shall be liable for any
act or omission of the Litigation Trust, the Litigation Trustee or any agent or representative of
the Litigation Trustee.



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                                            ARTICLE 4

                          LITIGATION TRUST ADVISORY BOARD

       4.1     Litigation Trust Advisory Board.

                The Litigation Trust Advisory Board, which shall have no more than three
members consisting of (i) Wilmington Trust or its designee, (ii) Deutsche Bank or its designee
and (iii) a member of the Creditors’ Committee that will be a beneficiary of Litigation Trust
Interests, but excluding the Senior Loan Agent, is hereby established as of the Effective Date
pursuant to Article XIII of the Plan to advise, assist and supervise the Litigation Trustee in the
administration of the Litigation Trust pursuant to this Litigation Trust Agreement. The initial
members of the Litigation Trust Advisory Board shall be the Persons set forth on Exhibit B,
attached hereto. Members of the Litigation Trust Advisory Board shall have the right to direct
and remove the Litigation Trustee, and shall have such other rights to operate and manage the
Litigation Trust as are not inconsistent with the Confirmation Order, the Plan and the terms of
this Litigation Trust Agreement. No other Litigation Trust Beneficiary shall have any
consultation or approval rights whatsoever in respect of management and operation of the
Litigation Trust, except as may be set forth in this Litigation Trust Agreement or the Plan with
respect to the Step Two Arranger Litigation Trust Preference.

       4.2     Authority of the Litigation Trust Advisory Board.

                 The Litigation Trust Advisory Board shall have the authority and responsibility to
advise, assist and supervise the Litigation Trustee in the administration of the Litigation Trust
and shall have the authority to remove the Litigation Trustee in accordance with Section 3.7(c)
herein. The Litigation Trustee shall consult with and provide information to the Litigation Trust
Advisory Board in accordance with and pursuant to the terms of this Litigation Trust Agreement
and the Plan. The Litigation Trust Advisory Board shall have the authority to select and engage
such professional advisors including, without limitation, any professional previously retained by
the Litigation Trust Beneficiaries, the Creditors’ Committee, or the Debtors, as the Litigation Trust
Advisory Board deems necessary and desirable to assist the Litigation Trust Advisory Board in
fulfilling its obligations under this Litigation Trust Agreement and the Plan, and the Litigation
Trust shall pay the reasonable and documented fees of such advisors (including on an hourly,
contingency, or modified contingency basis) and reimburse such advisors for their reasonable
and documented out-of-pocket costs and expenses consistent with the terms of this Litigation
Trust Agreement.

       4.3     Regular Meetings of the Litigation Trust Advisory Board.

              Meetings of the Litigation Trust Advisory Board are to be held with such
frequency and at such place as the Litigation Trustee and the members of the Litigation Trust
Advisory Board may determine in their reasonable discretion, but in no event shall such
meetings be held less frequently than quarterly.




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       4.4     Special Meetings of the Litigation Trust Advisory Board.

             Special meetings of the Litigation Trust Advisory Board may be held whenever
and wherever called for by the Litigation Trustee or any member of the Litigation Trust
Advisory Board.

       4.5     Manner of Acting.

              (a)     A majority of the total number of members of the Litigation Trust
Advisory Board then in office shall constitute a quorum for the transaction of business at any
meeting of the Litigation Trust Advisory Board. The affirmative vote of a majority of the
members of the Litigation Trust Advisory Board present and entitled to vote at a meeting at
which a quorum is present shall be the act of the Litigation Trust Advisory Board except as
otherwise required by law or as provided in this Litigation Trust Agreement. Any or all of the
members of the Litigation Trust Advisory Board may participate in a regular or special meeting
by, or conduct the meeting through the use of, conference telephone or similar communications
equipment by means of which all persons participating in the meeting may hear each other, in
which case any required notice of such meeting may generally describe the arrangements (rather
than or in addition to the place) for the holding thereof. Any member of the Litigation Trust
Advisory Board participating in a meeting by this means is deemed to be present in person at the
meeting. Voting (including on negative notice) may, if approved by the majority of the members
at a meeting, be conducted by electronic mail or individual communications by the Litigation
Trustee and each member of the Litigation Trust Advisory Board.

               (b)    Any member of the Litigation Trust Advisory Board who is present and
entitled to vote at a meeting of the Litigation Trust Advisory Board when action is taken is
deemed to have assented to the action taken, subject to the requisite vote of the Litigation Trust
Advisory Board, unless: (i) such member of the Litigation Trust Advisory Board objects at the
beginning of the meeting (or promptly upon his or her arrival) to holding it or transacting
business at the meeting; or (ii) his or her dissent or abstention from the action taken is entered in
the minutes of the meeting; or (iii) he or she delivers written notice (including by electronic or
facsimile transmission) of his or her dissent or abstention to the Litigation Trust Advisory Board
before its adjournment. The right of dissent or abstention is not available to any member of the
Litigation Trust Advisory Board who votes in favor of the action taken.

                (c)     Prior to the taking of a vote on any matter or issue or the taking of any
action with respect to any matter or issue, each member of the Litigation Trust Advisory Board
shall report to the Litigation Trust Advisory Board any conflict of interest such member has or
may have with respect to the matter or issue at hand and fully disclose the nature of such conflict
or potential conflict (including, without limitation, disclosing any and all financial or other
pecuniary interests that such member might have with respect to or in connection with such
matter or issue, other than solely as a Litigation Trust Beneficiary). A member who has or who
may have a conflict of interest shall be deemed to be a “conflicted member” who shall not be
entitled to vote or take part in any action with respect to such matter or issue (however such
member shall be counted for purposes of determining the existence of a quorum); the vote or
action with respect to such matter or issue shall be undertaken only by members of the Litigation
Trust Advisory Board who are not “conflicted members.”



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       4.6     Litigation Trust Advisory Board’s Action Without a Meeting.

               Any action required or permitted to be taken by the Litigation Trust Advisory
Board at a meeting may be taken without a meeting if the action is taken by unanimous written
consent of the Litigation Trust Advisory Board as evidenced by one or more written consents
describing the action taken, signed by all members of the Litigation Trust Advisory Board and
recorded in the minutes or other transcript of proceedings of the Litigation Trust Advisory
Board.

      4.7    Tenure, Removal, and Replacement of the Members of the Litigation Trust
Advisory Board.

                The authority of the members of the Litigation Trust Advisory Board will be
effective as of the Effective Date and will remain and continue in full force and effect until the
Litigation Trust is terminated in accordance with Section 9.1 herein. The service of the members
of the Litigation Trust Advisory Board will be subject to the following:

               (a)    The members of the Litigation Trust Advisory Board will serve until
Disability, death, resignation pursuant to subsection (b) below, or removal pursuant to
subsection (c) below;

              (b)    A member of the Litigation Trust Advisory Board may resign at any time
by providing a written notice of resignation to the remaining members of the Litigation Trust
Advisory Board. Such resignation will be effective upon the date received by the Litigation Trust
Advisory Board or such later date specified in the written notice;

               (c)    A member of the Litigation Trust Advisory Board may be removed by the
majority vote of the other members of the Litigation Trust Advisory Board, a written resolution
of which shall be delivered to the removed Litigation Trust Advisory Board member; provided,
however, that such removal may only be made for Cause;

                (d)    In the event of a vacancy on the Litigation Trust Advisory Board (whether
by removal, Disability, death or resignation), a new member may be appointed to fill such
position by a majority vote of the remaining members of the Litigation Trust Advisory Board;
provided, however, that if the designee of Wilmington Trust or the designee of Deutsche Bank
ceases for any reason to be a member of the Litigation Trust Advisory Board, then, so long as
Wilmington Trust or Deutsche Bank, as applicable, continue to serve as Indenture Trustee, it
shall have the right to appoint a successor member of the Litigation Trust Advisory Board to
replace its previous designee. Any successor Indenture Trustee to Wilmington Trust and/or
Deutsche Bank shall have the right to appoint a member of the Litigation Trust Advisory Board
to replace the designee of Wilmington Trust and/or Deutsche Bank, as applicable. Thereafter, if
the designee of such successor Indenture Trustee ceases for any reason to be a member of the
Litigation Trust Advisory Board, then such successor Indenture Trustee shall have the right to
appoint a successor member of the Litigation Trust Advisory Board to replace its previous
designee. Any such appointment of a new member cannot alter the structure or power of the
Litigation Trust Advisory Board as set forth in Section 4.1 herein; and




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               (e)    Immediately upon the appointment of any successor member of the
Litigation Trust Advisory Board, all rights, powers, duties, authority, and privileges of the
predecessor member of the Litigation Trust Advisory Board hereunder will be vested in and
undertaken by the successor member of the Litigation Trust Advisory Board without any further
act; and the successor member of the Litigation Trust Advisory Board will not be liable
personally for any act or omission of the predecessor member of the Litigation Trust Advisory
Board.

                (f)     Every successor member of the Litigation Trust Advisory Board appointed
hereunder shall execute, acknowledge and deliver to the Litigation Trustee and other members an
instrument accepting the appointment under this Litigation Trust Agreement and agreeing to be
bound thereto, and thereupon the successor member of the Litigation Trust Advisory Board
without any further act, deed, or conveyance, shall become vested with all rights, powers, trusts,
and duties of the retiring member.

         4.8   Compensation and Reimbursement of Expenses of the Litigation Trust Advisory
Board.

                (a)     Each member of the Litigation Trust Advisory Board shall receive a
$25,000 annual aggregate fee as compensation for his or her time expended in connection with
the Litigation Trust, to be paid in quarterly increments.

               (b)      The Litigation Trust will reimburse the members of the Litigation Trust
Advisory Board for all reasonable and documented out-of-pocket expenses incurred by such
members in connection with the performance of their respective services hereunder including,
without limitation, any services rendered with respect to the LT Reserves, without duplication,
upon demand for payment thereof; provided, however, that the Litigation Trust will not
reimburse the members of the Litigation Trust Advisory Board for any fees, costs, and expenses
of legal counsel retained by the members.

               (c)    All fees and expenses of the members of the Litigation Trust Advisory
Board shall be paid solely from Litigation Trust Proceeds or the proceeds of the Trust Loan.

         4.9   No Further Liability.

               (a)     Each of the Litigation Trustee and the members of the Litigation Trust
Advisory Board shall have no liability for any actions or omissions in accordance with this
Litigation Trust Agreement unless arising out of their gross negligence or willful misconduct. In
performing its duties under this Litigation Trust Agreement, the Litigation Trustee or the
members of the Litigation Trust Advisory Board (as applicable) shall have no liability for any
action taken by the Litigation Trustee and the members of the Litigation Trust Advisory Board in
accordance with the advice of counsel, accountants, appraisers and other professionals retained
by the members of the Litigation Trust Advisory Board or the Litigation Trust. Without limiting
the generality of the foregoing, the Litigation Trustee and the members of the Litigation Trust
Advisory Board may rely without independent investigation on copies of orders of the
Bankruptcy Court reasonably believed by the Litigation Trustee or the members of the Litigation
Trust Advisory Board (as applicable) to be genuine, and shall have no liability for actions taken



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in reliance thereon. None of the provisions of this Litigation Trust Agreement shall require the
Litigation Trustee or the members of the Litigation Trust Advisory Board to expend or risk their
own funds or otherwise incur personal financial liability in the performance of any of their duties
hereunder or in the exercise of any of their rights and powers. Each of the Litigation Trustee and
the members of the Litigation Trust Advisory Board may rely without inquiry upon writings
delivered to it under the Plan which the Litigation Trustee or the members of the Litigation Trust
Advisory Board (as applicable) reasonably believes to be genuine and to have been given by a
proper Person. Notwithstanding the foregoing, nothing in this Section 4.9 shall relieve the
Litigation Trustee or the members of the Litigation Trust Advisory Board from any liability for
any actions or omissions arising out of their gross negligence or willful misconduct. Any action
taken or omitted to be taken in the case of the Litigation Trustee or the members of the Litigation
Trust Advisory Board with the express approval of the Bankruptcy Court and, in the case of the
Litigation Trustee, with the express approval of the members of the Litigation Trust Advisory
Board will conclusively be deemed not to constitute gross negligence or willful misconduct.

                (b)   Neither the Litigation Trustee, the members of the Litigation Trust
Advisory Board nor their professionals will be liable for punitive, exemplary, consequential,
special or other damages for a breach of this Trust Agreement under any circumstances.

       4.10    Acknowledgment of Lack of Control; Exculpation.

               The Parties hereby acknowledge and agree that the Non-Controlling Parties are
not able to exert any control or influence over the Litigation Trust Advisory Board, the
administration of the Litigation Trust, the pursuit of the Preserved Causes of Action or any other
business of the Litigation Trust, and accordingly no Non-Controlling Party shall be liable for any
act or omission of the Litigation Trust or any member, designee, professional, agent or
representative of the Litigation Trust Advisory Board.

                                           ARTICLE 5

                                        TAX MATTERS

       5.1     Treatment of Litigation Trust Assets Transfer.

                Notwithstanding Section 1.2(a) herein, all parties shall treat, for U.S. federal
income tax purposes, the transfer of each of the Litigation Trust Assets to the Litigation
Trust, including any amounts or other assets subsequently transferred to the Litigation Trust
(but only at such time as actually transferred), as a transfer of the Litigation Trust Assets
(other than amounts set aside as LT Reserves if the LT Reserves are subject to any entity level
tax) to the Litigation Trust Beneficiaries, followed by a transfer of such Litigation Trust Assets
by the Litigation Trust Beneficiaries to the Litigation Trust in exchange for beneficial interests
in the Litigation Trust.

       5.2     Income Tax Status.

              For U.S. federal income tax purposes (and for purposes of all state, local
and other jurisdictions to the extent applicable), the Litigation Trust shall be treated as a



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grantor trust pursuant to IRC sections 671-677, or any successor provisions thereof. To the
extent consistent with Revenue Procedure 94-45 and not otherwise inconsistent with this
Litigation Trust Agreement, this Litigation Trust Agreement shall be construed so as to
satisfy the requirements for liquidating trust status. Except with respect to the Litigation Trust
Assets allocable to the LT Reserves, (i) the Litigation Trust Beneficiaries will be treated as
the grantors, deemed owners and beneficiaries of the Litigation Trust, and (ii) any items of
income, gain, loss, deduction and credit of the Litigation Trust shall be allocated for U.S.
federal income tax purposes to the Litigation Trust Beneficiaries. The Litigation Trust shall
at all times be administered so as to constitute a domestic trust for U.S. federal income tax
purposes.

       5.3     Valuation of Litigation Trust Assets as of Effective Date.

                Promptly after the Effective Date, the Valuation Expert shall determine and file
with the Bankruptcy Court the final fair market value as of the Effective Date of all Litigation
Trust Assets transferred to the Litigation Trust, giving due regard to the initial estimated
valuation of the Litigation Trust Assets determined in accordance with the Plan. Subject to any
lawful objection thereto, the Litigation Trust Beneficiaries, the Litigation Trust and the Litigation
Trustee will each be required to use such Valuation Expert’s final valuation consistently and
solely for all U.S. federal income tax purposes, including for determining tax basis and gain or
loss. For the avoidance of doubt, the Valuation Expert's final valuation shall not be binding on
the Litigation Trust Beneficiaries, the Litigation Trust or the Litigation Trustee for any purpose
other than U.S. federal income tax purposes, and the valuation shall not impair or prejudice any
rights, claims, powers, duties, authority, and privileges of the Litigation Trust Beneficiaries, the
Litigation Trust or the Litigation Trustee except with respect to U.S. federal income tax
purposes. The Litigation Trustee also shall file (or cause to be filed) any other statements,
returns or disclosure relating to the Litigation Trust that are required by governmental unit.

       5.4     Tax Returns.

                 The Litigation Trustee shall file U.S. federal income tax returns for the Litigation
Trust as a grantor trust in accordance with United States Treasury Regulation section 1.671-4
and report, but not pay tax on, the Litigation Trust’s tax items of income, gain, loss, deduction
and credit, other than such tax items allocable to the LT Reserves (“LT Tax Items”). The Holders
of Litigation Trust Interests shall report such LT Tax Items on their U.S. federal income tax
returns and pay any resulting U.S. federal income tax liability. In addition, the Litigation Trust
shall file in a timely manner such other tax returns, including any state and local tax returns, as are
required by applicable law and pay any taxes shown as due thereon. Within a reasonable time
following the end of the taxable year, the Litigation Trust shall send to each Litigation Trust
Beneficiary a separate statement setting forth the Litigation Trust Beneficiary’s share of LT
Tax Items and will instruct each such Litigation Trust Beneficiary to report such items on its
applicable income tax return. The Litigation Trust may provide each Litigation Trust Beneficiary
with a copy of the Form 1041 for the Litigation Trust (without attaching any other Litigation
Trust Beneficiary’s Schedule K-1 or other applicable information form) along with such
Litigation Trust Beneficiary’s Schedule K-1 or other applicable information form in order to
satisfy the foregoing requirement.




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       5.5     Expedited Determination of Taxes.

                 The Litigation Trustee may request an expedited determination of taxes of
the Litigation Trust under applicable law for all returns filed for, or on behalf of, the Litigation
Trust for all taxable periods through the dissolution of the Litigation Trust.

       5.6     Withholding of Taxes; Litigation Trust Taxes.

               The Litigation Trust shall comply with all withholding and reporting
requirements imposed by any federal, state, local or foreign taxing authority, and all
distributions made by the Litigation Trust to the Litigation Trust Beneficiaries shall be subject
to any such withholding and reporting requirements. To the extent that the operation of the
Litigation Trust or the liquidation of the Litigation Trust Assets creates a tax liability
imposed on the Litigation Trust, including the LT Reserves, the Litigation Trust shall timely
pay such tax liability and any such payment shall be considered a cost and expense of the
operation of the Litigation Trust. All Litigation Trust Beneficiaries shall be required to
provide any information necessary to comply with all withholding and reporting requirements.

       5.7     Tax Treatment of LT Reserves.

               Notwithstanding any other provision of this Litigation Trust Agreement to the
contrary, subject to definitive guidance from the Internal Revenue Service or a court of
competent jurisdiction to the contrary, with respect to any Litigation Trust Assets allocable
to the LT Reserves, the Litigation Trustee may in the Litigation Trustee’s discretion, for U.S.
federal income tax purposes (and to the extent permitted by law, for state and local income tax
purposes), either (i) make an election to treat such assets as held in a “disputed ownership
fund” within the meaning of United States Treasury Regulation section 1.468B-9, or (ii) treat
such assets as held in a discrete trust (which may consist of separate and independent shares)
in accordance with the trust provisions of the IRC (section 641, et seq.). In either case, the
Litigation Trustee shall treat as taxable income or loss of such fund or separate trust with
respect to each taxable year, the portion of the taxable income or loss and other tax items for
such year that would have been allocated to holders of Disputed Claims had such Claims
been allowed on the Effective Date (but only for the portion of the taxable year with respect
to which such Claims are unresolved). Any separate entity level tax incurred with respect to
the LT Reserves shall be paid by the Litigation Trustee out of the LT Reserves. All parties
(and the Litigation Trust Beneficiaries) must report consistently with the income tax
treatment determined by the Litigation Trustee in the Litigation Trustee’s discretion.

                                           ARTICLE 6

                                        DISTRIBUTIONS

       6.1     Annual Distribution; Withholding.

              The Litigation Trustee shall distribute at least annually all Net Litigation Trust
Proceeds in accordance with the Plan and the Litigation Trust Distribution Schedule; provided,
however, that the Litigation Trust may retain such amounts as are reasonably necessary (i) to
maintain the LT Reserves and the Expense Fund, and (ii) to pay or reserve for any taxes imposed


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on the Litigation Trust or in respect of the Litigation Trust Assets in accordance with the Plan or
this Litigation Trust Agreement. All such distributions shall be pursuant to the provisions of the
Plan and the Litigation Trust Distribution Schedule. The Litigation Trustee may withhold from
amounts distributable to any Person any and all amounts, determined in the Litigation Trustee’s
reasonable sole discretion, to be required by any law, regulation, rule, ruling, directive or other
governmental requirement.

       6.2     Manner of Payment or Distribution.

                (a)     With the exception of Class 1E Litigation Trust Interests and Class 1J
Litigation Trust Interests, all distributions made by the Litigation Trustee to Holders of Litigation
Trust Interests shall be payable by the Litigation Trustee directly to the Holders of Litigation
Trust Interests of record as of the twentieth (20th) day prior to the date scheduled for the
distribution, unless such day is not a Business Day, then such date for the distribution shall be
the following Business Day. Unless otherwise set forth in the Confirmation Order, no record date
shall be established for distributions to Holders of Class 1E Litigation Trust Interests or Class 1J
Litigation Trust Interests. For the avoidance of doubt, in accordance with the Plan and the
Litigation Trust Distribution Schedule, distributions to Holders of Class 1E Litigation Trust
Interests or Class 1J Litigation Trust Interests shall be made to the applicable Indenture Trustees,
which, in turn, shall make such distributions to the applicable Holders either through DTC or, in
case of Class 1E Litigation Trust Interests or Class 1J Litigation Trust Interests held directly by
the Holder thereof, through the applicable Indenture Trustee, subject to the respective rights,
claims and interests, if any, that the Indenture Trustee may have under the applicable Indentures
or otherwise to the recovery and/or reimbursement of their fees, costs and expenses (including
the fees, costs and expenses of counsel and financial advisors) from any distribution on account
of such Litigation Trust Interests, whether such rights, claims or interests are in the nature of a
charging lien or otherwise. To the extent the Indenture Trustees make distributions to applicable
Holders through DTC, such payment shall be made to DTC in accordance with DTC’s
customary procedures. If the distribution to Holders of Litigation Trust Interests shall be in Cash,
the Litigation Trustee shall distribute such Cash by wire, check, or such other method as the
Litigation Trustee deems appropriate under the circumstances.

               (b)     All Net Litigation Trust Proceeds shall be distributed in accordance with
the Plan and the Litigation Trust Distribution Schedule.

       6.3     Delivery of Litigation Trust Distributions.

                All distributions under this Litigation Trust Agreement to any Holder of
Litigation Trust Interests except Holders of Class 1E Litigation Trust Interests and Holders of
Class 1J Litigation Trust Interests shall be made at the address of such Holder as set forth in the
Trust Register or at such other address or in such other manner as such Holder of Litigation Trust
Interests shall have specified for payment purposes in a written notice to the Litigation Trustee
and the Registrar at least twenty (20) days prior to such distribution date. All distributions under
this Litigation Trust Agreement to Holders of Class 1E Litigation Trust Interests and Holders of
Class 1J Litigation Trust Interests shall be made in accordance with Section 6.2 herein, the Plan
and the Litigation Trust Distribution Schedule. If any distribution to any Litigation Trust
Beneficiary is returned as undeliverable, and after reasonable efforts the Litigation Trustee



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has not been able to determine the current address of the Litigation Trust Beneficiary, such
undeliverable or unclaimed distribution shall be deemed unclaimed property 120 days after
the date of such distribution and shall be reallocated to the remaining Litigation Trust
Beneficiaries and shall be distributed in accordance with the Plan and the Litigation Trust
Distribution Schedule. Such undeliverable or unclaimed distributions shall not be subject
to (i) any claims by such Litigation Trust Beneficiary, or (ii) the unclaimed property or
escheat laws of any state or governmental unit.

         6.4   Setoffs.

               The Litigation Trustee, on behalf of the Litigation Trust, agrees to comply with
and not take any actions inconsistent with Section 7.11.2 of the Plan.

         6.5   LT Reserves.

               The Litigation Trustee shall establish the LT Reserve(s), which shall include
assets held separately from other assets of the Litigation Trust, subject to an allocable share of all
expenses and obligations of the Litigation Trust, on account of Disputed Claims. The Litigation
Trustee shall remove funds from the LT Reserve(s) as the Disputed Claims are resolved, which
funds shall be distributed as provided in this Article 6 and the Litigation Trust Distribution
Schedule.

         6.6   Cash Distributions.

               No Cash distributions shall be required to be made to any Litigation Trust
Beneficiary in an amount less than $100.00. Any funds so withheld and not distributed shall be
held in reserve and distributed in subsequent distributions. Notwithstanding the foregoing, all
Cash shall be distributed in the final distribution of the Net Litigation Trust Proceeds.

                                            ARTICLE 7

                                       INDEMNIFICATION

         7.1   Indemnification of the Litigation Trustee and the Litigation Trust Advisory
Board.

                (a)     To the fullest extent permitted by law, the Litigation Trust, to the extent of
its assets legally available for that purpose, will indemnify and hold harmless the Litigation
Trustee and the Litigation Trust Advisory Board and each of their respective directors, members,
shareholders, partners, officers, agents, professionals or employees (collectively, the “Litigation
Trust Indemnified Parties” and each a “Litigation Trust Indemnified Party”) from and against
any and all loss, cost, damage, expense (including, without limitation, fees and expenses of
attorneys and other advisors and any court costs incurred by any Litigation Trust Indemnified
Party) or liability by reason of anything any Litigation Trust Indemnified Party did, does or
refrains from doing for the business or affairs of the Litigation Trust, except to the extent that it
is finally judicially determined by a court of competent jurisdiction that the loss, cost, damage,
expense or liability resulted from the Litigation Trust Indemnified Party's gross negligence or
willful misconduct.


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               (b)     Notwithstanding any provision herein to the contrary, the Litigation Trust
Indemnified Parties shall be entitled to obtain advances from the Litigation Trust to cover their
reasonable expenses of defending themselves in any action brought against them as a result of
the acts and omissions, actual or alleged, of a Litigation Trust Indemnified Party in its capacity
as such, provided, however, that the Litigation Trust Indemnified Parties receiving such
advances shall repay the amounts so advanced to the Litigation Trust immediately upon the entry
of a final, non-appealable judgment or order finding that such Litigation Trust Indemnified
Parties were not entitled to any indemnity under the provisions of this Section 7.1 The foregoing
indemnity in respect of any Litigation Trust Indemnified Party shall survive the termination,
resignation or removal of such Litigation Trust Indemnified Party from the capacity for which
they are indemnified. Termination or modification of the Trust Agreement shall not affect any
indemnification rights or obligations then existing.

                (c)     The rights to indemnification under this Section 7.1 are not exclusive of
other rights which any Litigation Trust Indemnified Party may otherwise have at law or in equity
including, without limitation, common law rights to indemnification or contribution. Nothing in
this Section 7.1 will affect the rights or obligations of any Person (or the limitations on those
rights or obligations) under this Litigation Trust Agreement or any other agreement or instrument
to which that Person is a party.

                                           ARTICLE 8

                    REPORTS TO LITIGATION TRUST BENEFICIARIES

       8.1     Reports.

                (a)     The Litigation Trustee shall file quarterly reports with the Bankruptcy
Court (and serve the same upon counsel for the Reorganized Debtors), and provide annual
reports to the Litigation Trust Beneficiaries, with respect to (i) the prosecution and resolution of
the Litigation Trust Assets, and (ii) expenditures, receipts, and distributions of the Litigation
Trust. The Litigation Trustee shall cause to be prepared, as applicable, either at such times as
may be required by the Exchange Act, if applicable, or, not less than annually, financial
statements of the Litigation Trust, to be delivered to the Litigation Trust Beneficiaries together
with annual income tax reporting of the Litigation Trust. To the extent required by law, the
financial statements prepared as of the end of the fiscal year shall be audited by nationally
recognized independent accountants in accordance with U.S. generally accepted accounting
principles. The materiality and scope of audit determinations shall be established between the
Litigation Trustee (in consultation with the Litigation Trust Advisory Board) and the appointed
auditors with a view toward safeguarding the value of the Litigation Trust Assets, but nothing
relating to the mutually agreed scope of work shall result in any limitation of audit scope that
would cause the auditors to qualify their opinion as to scope of work with respect to such
financial statements.

               (b)    Within ten (10) Business Days after the end of the relevant report
preparation period the Litigation Trustee shall cause any information reported pursuant to
Section 8.1(a) to be provided to such Litigation Trust Beneficiaries and to be filed with the
Bankruptcy Court.



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               (c)      Any report required to be distributed by the Litigation Trustee under
Section 8.1(a) hereof shall also be distributed to the Persons listed in Section 11.6 hereof
concurrently with its distribution to the Litigation Trust Beneficiaries under Section 8.1(a)
hereof. The Litigation Trustee may post any report required to be provided under this Section 8.1
on a web site maintained by the Litigation Trustee in lieu of actual notice to the Litigation Trust
Beneficiaries (unless otherwise required by law) subject to providing notice to the Persons listed
in Section 11.6 herein.

                                            ARTICLE 9

                    TERM; TERMINATION OF THE LITIGATION TRUST

       9.1     Term; Termination of the Litigation Trust.

                 (a)     The Litigation Trust will be dissolved no later than five (5) years from the
Effective Date; provided, however, that the Bankruptcy Court, upon motion by a party in
interest, on notice with an opportunity for a hearing, may extend the term of the Litigation Trust
for a finite period if (i) such extension is necessary to the purpose of the Litigation Trust, (ii) the
Litigation Trustee receives an opinion of counsel or a ruling from the Internal Revenue Service
stating that such extension would not adversely affect the status of the Litigation Trust as a
liquidating trust for U.S. federal income tax purposes, and (iii) such extension is obtained within
the six (6) month period prior to the Litigation Trust’s fifth (5th) anniversary or the end of the
immediately preceding extension period, as applicable.

               (b)     Upon dissolution of the Litigation Trust, any remaining Cash on hand and
other assets, with the exception of any Preserved Causes of Action will be distributed to the
Litigation Trust Beneficiaries in accordance with this Litigation Trust Agreement and the
Litigation Trust Distribution Schedule.

               (c)    In connection with the dissolution of the Litigation Trust, the Litigation
Trustee shall withdraw with prejudice any pending suits, actions or proceedings with respect to
the Preserved Causes of Action and, upon dissolution of the Litigation Trust, all remaining
Preserved Causes of Action shall be deemed void and abandoned and no Litigation Trust
Beneficiary shall have any right, title or interest in or to any such Preserved Cause of Action.

       9.2     Continuance of the Litigation Trustee for Winding Up.

                After the termination of the Litigation Trust and for the purpose of liquidating and
winding up the affairs of the Litigation Trust, the Litigation Trustee shall continue to act as such
until the Litigation Trustee’s duties have been fully performed. Prior to the final distribution of
all of the remaining Litigation Trust Assets and upon approval of the Litigation Trust Advisory
Board, the Litigation Trustee shall be entitled to reserve from such assets any and all amounts
required to provide for the Litigation Trustee’s own costs and expenses in accordance with
Section 3.11 herein until such time as the winding up of the Litigation Trust is completed. Upon
termination of the Litigation Trust, subject to the terms and conditions contained in the LT
Confidentiality and Common Interest Agreement, the Litigation Trustee shall retain for a period
of two (2) years, as a cost of administering the Litigation Trust, the books, records, Litigation



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Trust Beneficiary lists, the Trust Register, and certificates and other documents and files that
have been delivered to or created by the Litigation Trustee. Subject to the terms and conditions
contained in the LT Confidentiality and Common Interest Agreement, at the Litigation Trustee’s
discretion, all of such records and documents may, but need not, be destroyed at any time after
two (2) years from the completion and winding up of the affairs of the Litigation Trust. Except as
otherwise specifically provided herein, upon the termination of the Litigation Trust, the
Litigation Trustee shall have no further duties or obligations hereunder.

                                          ARTICLE 10

                                AMENDMENT AND WAIVER

               Any substantive provision of this Litigation Trust Agreement, except for this
Article 10 and Section 1.5 herein, may be amended or waived in writing by the Litigation
Trustee, upon notice and unanimous approval by the Litigation Trust Advisory Board and
approval of the Bankruptcy Court and provision of reasonable notice to the Reorganized
Debtors; provided, however, that any modification that may adversely affect distributions to
Litigation Trust Beneficiaries shall require the consent of the Litigation Trust Beneficiaries who
hold a majority of the class of Litigation Trust Interests that would be adversely affected.
Notwithstanding the foregoing, any amendment or waiver which materially and adversely affects
the Reorganized Debtors shall require their consent. Technical amendments to this Litigation
Trust Agreement may be made, as necessary to clarify this Litigation Trust Agreement or enable
the Litigation Trustee to effectuate the terms of this Litigation Trust Agreement, by the
Litigation Trustee with approval by a majority of the Litigation Trust Advisory Board; provided,
however, that all amendments of this Litigation Trust Agreement shall be consistent with the
Plan and the purpose and intention of the Litigation Trust to liquidate in an expeditious but
orderly manner the Litigation Trust Assets in accordance with United States Treasury Regulation
section 301.7701-4(d) and Section 1.4 herein.

                                          ARTICLE 11

                               MISCELLANEOUS PROVISIONS

       11.1    Intention of Parties to Establish a Liquidating Trust.

                The Litigation Trust is intended to be classified as a liquidating trust for U.S.
federal income tax purposes and, to the extent provided by law, shall be governed and construed
in all respects as such a trust and any ambiguity herein shall be construed consistent herewith
and, if necessary, this Litigation Trust Agreement may be amended in accordance with Article 10
herein to comply with such U.S. federal income tax laws, which amendments may apply
retroactively.

       11.2    Reimbursement of Trust Costs.

               If the Litigation Trustee, the Litigation Trust Advisory Board, the Litigation
Trust, or any Debtor or Reorganized Debtor, as the case may be, is the prevailing party in a
dispute regarding the provisions of this Litigation Trust Agreement or the enforcement thereof,



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the Litigation Trustee, the Litigation Trust Advisory Board, the Litigation Trust or any Debtor or
Reorganized Debtor, as the case may be, shall be entitled to collect any and all costs, reasonable
and documented out-of-pocket expenses and fees, including attorneys’ fees, from the non-
prevailing party incurred in connection with such dispute or enforcement action. To the extent
that the Litigation Trust has advanced such amounts, the Litigation Trust may recover such
amounts from the non-prevailing party.

       11.3    Laws as to Construction.

                Except to the extent the Bankruptcy Code or Federal Rules of Bankruptcy
Procedure are applicable, this Litigation Trust Agreement shall be governed by, and construed
and enforced in accordance with, the federal laws of the United States and, to the extent
there is no applicable federal law, the domestic laws of the state of Delaware, without giving
effect to the principles of conflicts of law thereof.

       11.4    Jurisdiction.

                The Bankruptcy Court shall have the exclusive jurisdiction with respect to any
action relating to or arising from the Litigation Trust.

       11.5    Severability.

               If any provision of this Litigation Trust Agreement or the application thereof to
any Person or circumstance shall be finally determined by a court of competent jurisdiction to be
invalid or unenforceable to any extent, the remainder of this Litigation Trust Agreement, or the
application of such provision to Persons or circumstances other than those as to which it is held
invalid or unenforceable, shall not be affected thereby, and such provision of this Litigation Trust
Agreement shall be valid and enforced to the fullest extent permitted by law.

       11.6    Notices.

                 (a)     All notices, requests or other communications to the Parties hereto shall be
in writing and shall be sufficiently given only if (i) delivered in person; (ii) sent by electronic or
facsimile communication (as evidenced by an electronic mail return receipt or confirmed fax
transmission report, respectively); (iii) sent by registered or certified mail, return receipt
requested; or (iv) sent by commercial delivery service or courier. Until a change of address is
communicated, as provided below, all notices, requests and other communications shall be sent
to the parties at the following addresses or facsimile numbers:

                       (i)     If to the Litigation Trustee, to:

                               [to be inserted]

                               With a copy to:

                               [to be inserted]




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                       (ii)    If to the Litigation Trust Advisory Board, to:

                               [to be inserted]

                               With a copy to:

                               [to be inserted]

                       (iii)   If to the Reorganized Debtors, to:

                               [to be inserted]

                               With a copy to:

                               [to be inserted]

                      (iv)    If to a Litigation Trust Beneficiary: to the name and address set
forth on the Trust Register, provided that general notices to all Litigation Trust Beneficiaries
may be made by posting such notice to a website identified in advance for communication
with Litigation Trust Beneficiaries. To the extent Holders of Class 1E Litigation Trust
Interests or Class 1J Litigation Trust Interests hold such Litigation Trust Interests through
DTC, all notices, requests or other communications to such Holders shall be provided by the
applicable Indenture Trustee according to its customary procedures.

               (b)     All notices shall be effective and shall be deemed delivered (i) if by
personal delivery, delivery service or courier, on the date of delivery; (ii) if by electronic mail or
facsimile communication, on the date of receipt or confirmed transmission of the
communication; and (iii) if by mail, on the date of receipt. Any Party from time to time may
change its address, facsimile number or other information for the purpose of notices to that Party
by giving notice specifying such change to the other Party hereto.

       11.7    Fiscal Year.

                The fiscal year of the Litigation Trust will begin on the first day of January and
end on the last day of December of each year.

       11.8    Headings.

             The section headings contained in this Litigation Trust Agreement are solely for
convenience of reference and shall not affect the meaning or interpretation of this Litigation
Trust Agreement or of any term or provision hereof.

       11.9    Counterparts.

              This Litigation Trust Agreement may be executed in any number of counterparts,
each of which shall be deemed to be an original instrument, but all together shall constitute one
agreement.




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       11.10 Confidentiality.

                The Litigation Trustee and each successor Litigation Trustee and each member of
the Litigation Trust Advisory Board and each successor member of the Litigation Trust Advisory
Board (each a “Covered Person”) shall, during the period that they serve in such capacity under
this Litigation Trust Agreement and following either the termination of this Litigation Trust
Agreement or such individual’s removal, incapacity, or resignation hereunder, hold strictly
confidential and not use for personal gain any material, non-public information of or pertaining
to any Person to which any of the Litigation Trust Assets relates or of which it has become aware
in its capacity (the “Information”), except to the extent disclosure is required by applicable law,
order, regulation or legal process. In the event that any Covered Person is requested or required
(by oral questions, interrogatories, requests for information or documents, subpoena, civil
investigation, demand or similar legal process) to disclose any Information, such Covered Person
shall notify the Litigation Trust Advisory Board and the Reorganized Debtors reasonably
promptly (unless prohibited by law) so that the Litigation Trust Advisory Board and/or the
Reorganized Debtors may seek an appropriate protective order or other appropriate remedy or, in
its discretion, waive compliance with the terms of this Section 11.10, subject to the LT
Confidentiality and Common Interest Agreement, (and if the Litigation Trust Advisory Board or
Reorganized Debtors seeks such an order, the relevant Covered Person will provide cooperation
as the Litigation Trust Advisory Board and/or Reorganized Debtors shall reasonably request). In
the event that no such protective order or other remedy is obtained, or that the Litigation Trust
Advisory Board and the Reorganized Debtors waives compliance with the terms of this Section
11.10, subject to the LT Confidentiality and Common Interest Agreement, and that any Covered
Person is nonetheless legally compelled to disclose the Information, the Covered Person will
furnish only that portion of the Information, which the Covered Person, advised by counsel, is
legally required and will give the Litigation Trust Advisory Board and the Reorganized Debtors
written notice (unless prohibited by law) of the Information to be disclosed as far in advance as
practicable and exercise all reasonable efforts to obtain reliable assurance that confidential
treatment will be accorded the Information.

       11.11 Entire Agreement.

                This Litigation Trust Agreement (including the Recitals), the Confirmation Order,
and the Plan constitute the entire agreement by and among the Parties hereto and there are no
representations, warranties, covenants or obligations except as set forth herein or therein. This
Litigation Trust Agreement, the Plan and the Confirmation Order supersede all prior and
contemporaneous agreements, understandings, negotiations, discussions, written or oral, of the
Parties hereto, relating to any transaction contemplated hereunder. Except as otherwise
specifically provided herein, in the Plan or in the Confirmation Order, nothing in this Litigation
Trust Agreement is intended or shall be construed to confer upon or to give any Person other
than the Parties hereto and their respective heirs, administrators, executors, successors, or assigns
any right to remedies under or by reason of this Litigation Trust Agreement.

       11.12 Rules of Interpretation.

               For purposes of this Litigation Trust Agreement, unless otherwise provided
herein: (a) whenever from the context it is appropriate, each term, whether stated in the singular



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or the plural, will include both the singular and the plural; (b) the words “herein,” “hereof,”
“hereto,” “hereunder” and other words of similar import refer to this Litigation Trust Agreement
as a whole and not to any particular section, subsection or clause contained in this Litigation
Trust Agreement; (c) the rules of construction set forth in 11 U.S.C. § 102 will apply; and (d) the
term “including” shall be construed to mean “including, but not limited to,” “including, without
limitation,” or words of similar import.

       11.13 Effectiveness.

               This Litigation Trust Agreement shall become effective on the Effective Date.

       11.14 No Waiver.

                The Reorganized Debtors and the Litigation Trustee agree that no failure or delay
by either party in exercising any right, power or privilege hereunder will operate as a waiver
thereof, and that no single or partial exercise thereof will preclude any other or further exercise
thereof or the exercise of any right, power and privilege hereunder.


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                IN WITNESS WHEREOF, the Parties hereto have either executed and
acknowledged this Litigation Trust Agreement, or caused it to be executed and acknowledged on
their behalf by their duly authorized officers all as of the date first above written.



                                   TRIBUNE COMPANY (for itself and on behalf of the
                                   other Debtors, as Debtors and Debtors in Possession, and
                                   the Guarantor Non-Debtors and Non-Guarantor Non-
                                   Debtors)




                                   By:
                                   Title:




                                   [INSERT NAME], LITIGATION TRUSTEE OF
                                   THE LITIGATION TRUST ESTABLISHED
                                   UNDER THIS LITIGATION TRUST AGREEMENT
                                   DATED [______________], 2012 PURSUANT TO
                                   THE FOURTH AMENDED JOINT PLAN OF
                                   REORGANIZATION FOR TRIBUNE COMPANY
                                   AND ITS SUBSIDIARIES PROPOSED BY THE
                                   DEBTORS, THE OFFICIAL COMMITTEE OF
                                   UNSECURED CREDITORS, OAKTREE CAPITAL
                                   MANAGEMENT, L.P., ANGELO, GORDON &
                                   CO., L.P., AND JPMORGAN CHASE BANK, N.A.




                                   [INSERT NAME], as

                                   LITIGATION TRUSTEE
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                           EXHIBIT A


                THE LITIGATION TRUSTEE



           [name and contact information to be inserted]
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                                     EXHIBIT B


     INITIAL MEMBERS OF THE LITIGATION TRUST ADVISORY BOARD



   David Adler, representative of Deutsche Bank Trust Company Americas, as Successor
    Indenture Trustee for Certain Series of Senior Notes

   Julie Becker, representative of Wilmington Trust Company, as Successor Indenture
    Trustee for the PHONES Notes

   William Niese
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                                         EXHIBIT C


                   LITIGATION TRUST DISTRIBUTION SCHEDULE

Distributions made under the Litigation Trust Agreement shall be made as follows.

      Distributions of the proceeds received by the Litigation Trust from the pursuit of
       Preserved Causes of Action against the Non-Settling Step Two Payees shall be made as
       follows.

          o Step Two Arranger Litigation Trust Preference. Until the Step Two Arrangers that
            are signatories to the Step Two/Disgorgement Settlement Undertaking have been
            reimbursed in full for the portion of the Step Two/Disgorgement Settlement
            allocable to Senior Lenders and Bridge Lenders that did not elect to participate in
            the Step Two/Disgorgement Settlement that was advanced by the Step Two
            Arrangers that are signatories to the Step Two/Disgorgement Settlement
            Undertaking, ninety percent (90%) of the proceeds received by the Litigation
            Trust from the pursuit of Preserved Causes of Action against the Non-Settling
            Step Two Payees shall be distributed to such Step Two Arrangers.

      Distributions of the Net Litigation Trust Proceeds shall be made as follows.

          o Parent GUC Trust Preference. Until the Holders of Class 1E Litigation Trust
            Interests, Holders of Class 1F Litigation Trust Interests, Holders of Class 1I
            Litigation Trust Interests, and Holders of Class 1J Litigation Trust Interests have
            received distributions of $90,000,000 in the aggregate from the Litigation Trust,
            one hundred percent (100%) of the Net Litigation Trust Proceeds shall be
            distributed on a pro rata basis to Holders of Class 1E Litigation Trust Interests,
            Holders of Class 1F Litigation Trust Interests, Holders of Class 1I Litigation Trust
            Interests, and Holders of Class 1J Litigation Trust Interests, provided that all
            distributions that would otherwise be made on account of Class 1I Litigation Trust
            Interests first shall be turned over and distributed Pro Rata to Holders of Class 1E
            Litigation Trust Interests, Holders of Class 1F Litigation Trust Interests and
            Holders Class 1J Litigation Trust Interests; provided further that all distributions
            that would otherwise be made on account of Class 1J Litigation Trust Interests
            (including distributions on account of Class 1I Litigation Trust Interests) shall not
            be distributed directly to such Holders but shall be turned over and distributed Pro
            Rata to Holders of Class 1E Litigation Trust Interests and Holders of Class 1F
            Litigation Trust Interests.

          o Trust Loan Preference. After the Parent GUC Trust Preference has been paid in
            full, and until the Trust Loan has been satisfied in full in accordance with the
            terms of the Trust Loan Agreement, one hundred percent (100%) of the Net
            Litigation Trust Proceeds shall be applied to repay the Trust Loan in accordance
            with the terms of the Trust Loan Agreement.

          o Remaining Allocation.

                     After the Parent GUC Trust Preference and the Trust Loan Preference
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                   have been paid in full, and until the Holders of Class 1E Litigation Trust
                   Interests, Holders of Class 1F Litigation Trust Interests, Holders of Class
                   1I Litigation Trust Interests, and Holders of Class 1J Litigation Trust
                   Interests have received payment in full of the Allowed amount of such
                   Holders’ Claims plus, in accordance with the Allocation Disputes Rulings
                   and applicable law, accrued Post-petition Interest thereon:

                         Sixty-five percent (65%) of the Net Litigation Trust Proceeds shall
                          be distributed on a pro rata basis to Holders of Class 1E Litigation
                          Trust Interests, Holders of Class 1F Litigation Trust Interests,
                          Holders of Class 1I Litigation Trust Interests, and Holders of Class
                          1J Litigation Trust Interests; provided, that all distributions that
                          would otherwise be made on account of Class 1I Litigation Trust
                          Interests first shall be turned over and distributed Pro Rata to
                          Holders of Class 1E Litigation Trust Interests, Holders of Class 1F
                          Litigation Trust Interests and Holders Class 1J Litigation Trust
                          Interests until such Holders have received payment in full of the
                          Allowed amount of such Holders’ Allowed Claims plus, in
                          accordance with the Allocation Disputes Rulings and applicable
                          law, accrued Post-petition interests thereon; provided further that
                          all distributions that would otherwise be made on account of Class
                          1J Litigation Trust Interests (including distributions on account of
                          Class 1I Litigation Trust Interests) shall not be distributed directly
                          to such Holders but shall be turned over and distributed Pro Rata to
                          Holders of Class 1E Litigation Trust Interests and Holders of Class
                          1F Litigation Trust Interests until such Holders have received
                          payment in full of the Allowed amount of such Holders’ Allowed
                          Claims plus, in accordance with the Allocation Disputes Rulings
                          and applicable law, accrued Post-petition interests thereon; and

                         Thirty-five percent (35%) of the Net Litigation Trust Proceeds
                          shall be distributed on a pro rata basis to the Holders of Class 1C
                          Litigation Trust Interests and Holders of Class 1D Litigation Trust
                          Interests.

                  After the Holders of Class 1E Litigation Trust Interests, Holders of Class
                   1F Litigation Trust Interests, Holders of Class 1I Litigation Trust Interests,
                   and Holders of Class 1J Litigation Trust Interests have received payment
                   in full of the Allowed amount of such Holders’ Claims, plus, in
                   accordance with the Allocation Disputes Rulings and applicable law,
                   accrued Post-petition Interest thereon, one hundred percent (100%) of the
                   Net Litigation Trust Proceeds shall be distributed on a pro rata basis to
                   Holders of Class 1C Litigation Trust Interests and Holders of Class 1D
                   Litigation Trust Interests.

   In accordance with Section 7.7.2 of the Plan, distributions of Cash to Holders of Class 1E
    Litigation Trust Interests or Class 1J Litigation Trust Interests shall be made to the


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    applicable Indenture Trustees, which, in turn, shall make such distributions to the
    applicable Holders either through DTC or, in case of Class 1E Litigation Trust Interests
    or Class 1J Litigation Trust Interests held directly by the Holder thereof, though the
    applicable Indenture Trustee, subject to the respective rights, claims and interests, if any,
    that the Indenture Trustee may have under the applicable Indentures or otherwise to the
    recovery and/or reimbursement of their fees, costs and expenses (including the fees, costs
    and expenses of counsel and financial advisors) from any distribution on account of such
    Litigation Trust Interests, whether such rights, claims or interests are in the nature of a
    charging lien or otherwise.

   In no event shall any Holder of a Litigation Trust Interest be entitled to receive payments
    that in the aggregate exceed the Allowed amount of such Holder’s Claim plus, in
    accordance with the Plan, accrued Post-petition Interest thereon.




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